23 F.3d 358
    Willie T. EDWARDS, as Personal Representative of the Estateof Dustin Wade Molbert, on behalf of the Estateand on behalf of the Survivor, Willie T.Edwards, Plaintiff-Appellant,v.OKALOOSA COUNTY, Defendant,Larry Gilbert, Individually and in his Official Capacity asSheriff of Okaloosa County and Leon Blackshear,Defendants-Appellees.
    No. 92-2476.
    United States Court of Appeals,Eleventh Circuit.
    June 21, 1994.
    
      Randall C. Berg, Jr., Peter M. Siegel, Florida Justice Institute, Inc., Miami, FL, for plaintiff-appellant.
      Julius F. Parker, Jr., Tallahassee, FL, for defendants-appellees.
      Appeal from the United States District Court for the Northern District of Florida.  (No. 87-30465-RV), Roger Vinson, Judge.
      ON PETITION FOR REHEARING.
      Before COX and BIRCH, Circuit Judges, and SMITH*, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      The panel opinion is reported at 5 F.3d 1431 (11th Cir.1993).  The panel opinion is modified in the following respects.
    
    
      2
      (1) The panel deletes the term "two-year" from the fourth paragraph of the opinion on page 1432;  and
    
    
      3
      (2) The panel deletes the paragraph of the opinion appearing on page 1434 which begins "The Florida statute of limitations ..." and substitutes in its stead the following paragraph:
    
    
      4
      The Florida statute of limitations for Edwards's pendent wrongful death claim against Sheriff Gilbert expired on October 11, 1990, four years after Molbert's death.  See Fla.Stat. ch. 768.28(12) (Supp.1992);  Beard v. Hambrick, 396 So.2d 708, 712 (Fla.1981).  Thus, the statute had run while Edwards's case was in federal court.  This case had been pending over four years when the district court granted summary judgment and dismissed the pendent wrongful death claim, but nothing in the record suggests that Edwards caused this delay.
    
    
      5
      The petition for rehearing is denied.
    
    
      
        *
         Honorable Edward S. Smith, Senior U.S. Circuit Judge for the Federal Circuit, sitting by designation
      
    
    